
In re Meeks, Ashley; — Plaintiff(s); applying for supervisory and/or remedial writ; Parish of Jefferson 24th Judicial District Court Div. “I” No. 97-5696; to the Court of Appeal, Fifth Circuit, No. 98-KH-0633.
Writ granted in part; otherwise denied. Because the terms of the statute under which relator was sentenced do not include a prohibition on parole, see R.S. 14:110, relator’s sentence is amended to delete the prohibition. Relator’s parole eligibility is to be determined by the Department of Corrections pursuant to R.S. 15:574.4. St. Amant v. 19th JDC, 94-0567 (La.9/3/96), 678 So.2d 536; cf. State ex rel. Simmons v. Stalder, 93-1852 (La.1/26/96), 666 So.2d 661. The district court is directed to make an entry in the minutes reflecting this change. In all other respects, the application is denied.
VICTORY, J. not on panel.
